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         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

RIVERVIEW FARMS, et al.,            )
                                    )
      Plaintiffs,                   )
                                    )     Case No.: 1:18-cv-1099
            v.                      )
                                    )
UNITED STATES OF AMERICA, )               Judge Richard A. Hertling
                                    )
      Defendant.                    ) Electronically filed on July 29, 2021
____________________________________)

            UNOPPOSED MOTION TO DISMISS TONY GILL
      AS A BELLWETHER PLAINTFF AND TO PROCEED WITH THE
                REMAINING SEVEN BELLWETHERS

       Plaintiffs, Riverview Farms, et al., (“Plaintiffs”), by and through their

undersigned counsel, move to remove Tony Gill as a bellwether Plaintiff in the

above captioned case, and to proceed with the remaining seven bellwethers for the

purpose of resolving the remaining jurisdictional issues. The Government does not

oppose this motion.

       Tony Gill was individually selected as a bellwether plaintiff on January 31,

2020. (See ECF No. 57). Mr. Gill tragically and unexpectedly died on March 12,

2021. Plaintiffs’ counsel informed counsel for the Government on March 15, 2021

as soon as they were notified. The Government agreed that it would be proper to

proceed with the seven bellwether claims and that it would not object to the

dismissal of Mr. Gill’s claims. At that time, the parties did not address how to

proceed with Pam Gill’s claims, who is also a Plaintiff to this lawsuit, and who

owned the land at issue jointly, with right-of-survivorship, with Mr. Gill.



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      The parties agree that the remaining seven bellwethers are sufficient for

purposes of the threshold jurisdictional issues contemplated by the current

discovery schedule, and that the addition of a bellwether plaintiff to replace Mr.

Gill is not necessary. Moreover, the parties agree that Mrs. Gill may proceed with

her claim without replacing Tony as a jurisdictional bellwether plaintiff. Mrs. Gill

does not possess as much knowledge as Mr. Gill did about the properties at issue

as it relates to the threshold jurisdictional questions and selecting an additional

bellwether would likely serve to delay discovery further.

      Accordingly, Plaintiffs request that the Court dismiss Tony Gill as a

bellwether plaintiff and allow the parties to proceed with jurisdictional fact

discovery with the remaining seven bellwether plaintiffs.




      Dated: July 29, 2021                   Respectfully Submitted,


                                             /s/ Ethan A. Flint
                                             Ethan A. Flint, Attorney of Record

                                             /s/ Adam M. Riley
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